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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                    )      JUDGE CHRISTOPHER A. BOYKO
                                             )
                 Plaintiff                   )      CASE NO. 1:06CR589-001
                                             )
       -vs-                                  )
                                             )
JONMAL SIMMONS,                              )      ORDER
                                             )
                                             )
                 Defendants                  )


       On April 23, 2007, Defendant entered a plea of guilty to Count 1 of an indictment
charging 18 U.S.C.§ 1343 and 2 - Wire Fraud. Defendant was sentenced by this Court
on July 16, 2007 to 5 months custody of the Bureau of Prisons followed by 3 years
Supervised Release, Restitution in the amount of $22,497.97 and a Special
Assessment of $200.00. Defendant was immediately remanded to the custody of the
United States Marshal.

       On October 23, 2008, the Court received a Violation Report from the
Pretrial/Probation office requesting the Court issue an arrest warrant for Defendant.
The Violation Report listed the nature of each non-compliance: (1) Failure to Report as
Directed; (2) Failure to Make Monthly Restitution Payments; (3) Failure to Submit
Written Monthly Supervision Reports; and (4) Failure to Notify of Change in Residence.

     Defendant, represented by counsel, appeared before this Court for an Initial
Appearance - Revocation Hearing on November 5, 2008.

        Rosalind Burks, Probation Officer, gave an overview of the violations listed in the
Violation Report.

        Counsel for Defendant stated the Defendant admits to the violations and waives
his right to a hearing.

       The Government had no objections to the recommendations of the Probation
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Officer.

      After consultation with Counsel and the Probation Officer, the Court modifies the
Defendant’s conditions of Supervised Release to include:

                •   3 Months placement in Oriana House;

                •   All medications and Infusion Treatments (upon verification by
                    Bureau of Prisons);

                •   Mental Health treatment and counseling; and

                •   Subsistence Waived.


       IT IS SO ORDERED.



                                 s/Christopher A. Boyko
                                 Christopher A. Boyko
                                 United States District Court Judge


November 6, 2008
